Case 3:19-cv-00751-SMY-RJD Document 1-1 Filed 07/11/19 Page 1 of 15 Page ID #4




                                                            EXHIBIT A
Case 3:19-cv-00751-SMY-RJD Document 1-1 Filed 07/11/19 Page 2 of 15 Page ID #5
Case 3:19-cv-00751-SMY-RJD Document 1-1 Filed 07/11/19 Page 3 of 15 Page ID #6
Case 3:19-cv-00751-SMY-RJD Document 1-1 Filed 07/11/19 Page 4 of 15 Page ID #7
Case 3:19-cv-00751-SMY-RJD Document 1-1 Filed 07/11/19 Page 5 of 15 Page ID #8
Case 3:19-cv-00751-SMY-RJD Document 1-1 Filed 07/11/19 Page 6 of 15 Page ID #9
Case 3:19-cv-00751-SMY-RJD Document 1-1 Filed 07/11/19 Page 7 of 15 Page ID #10
Case 3:19-cv-00751-SMY-RJD Document 1-1 Filed 07/11/19 Page 8 of 15 Page ID #11
Case 3:19-cv-00751-SMY-RJD Document 1-1 Filed 07/11/19 Page 9 of 15 Page ID #12
Case 3:19-cv-00751-SMY-RJD Document 1-1 Filed 07/11/19 Page 10 of 15 Page ID #13
Case 3:19-cv-00751-SMY-RJD Document 1-1 Filed 07/11/19 Page 11 of 15 Page ID #14
Case 3:19-cv-00751-SMY-RJD Document 1-1 Filed 07/11/19 Page 12 of 15 Page ID #15
Case 3:19-cv-00751-SMY-RJD Document 1-1 Filed 07/11/19 Page 13 of 15 Page ID #16
Case 3:19-cv-00751-SMY-RJD Document 1-1 Filed 07/11/19 Page 14 of 15 Page ID #17
Case 3:19-cv-00751-SMY-RJD Document 1-1 Filed 07/11/19 Page 15 of 15 Page ID #18
